Case 1:19-md-02875-RMB-SAK   Document 598-2    Filed 10/16/20   Page 1 of 24 PageID:
                                   12584



                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
                          CAMDEN VICINAGE

                                              MDL No. 2875
   IN RE: VALSARTAN, LOSARTAN,
   AND IRBESARTAN PRODUCTS                    Honorable Robert B. Kugler,
   LIABILITY LITIGATION                       District Court Judge

                                              Honorable Joel Schneider,
   This Document Relates to All Actions       Magistrate Judge



  COMPENDIUM OF CHARTS REFERENCED IN THE MANUFACTURER
                 DEFENDANTS’ REPLY BRIEF
Case 1:19-md-02875-RMB-SAK                  Document 598-2            Filed 10/16/20         Page 2 of 24 PageID:
                                                  12585



                                         TABLE OF CONTENTS

                                                                                                              Page
  NEW ALLEGED FACTS AND EXTRINSIC MATERIALS .................................. 1

  NON-EXHAUSTIVE LIST OF STATES REQUIRING LOSS OF
      FUNCTIONALITY OR PHYSICAL HARM FOR BREACH OF
      IMPLIED WARRANTY ................................................................................. 6

  STATES REQUIRING RELIANCE ON OR KNOWLEDGE OF A
      WARRANTY FOR IT TO FORM THE “BASIS OF THE
      BARGAIN” ..................................................................................................... 8




                                                           ii
Case 1:19-md-02875-RMB-SAK      Document 598-2      Filed 10/16/20   Page 3 of 24 PageID:
                                      12586



           NEW ALLEGED FACTS AND EXTRINSIC MATERIALS

    New Facts Alleged in Plaintiffs’ Opposition        Opposition        External
                                                      Page Number         Source
                                                                           Cited
   “The API is the part of any drug that produces   8-9                 None
   the intended effects. The excipient is any
   substance other than the API that helps deliver
   the medication to the human body system.
   While in certain specific instances generic
   manufacturers may use different excipients in
   the formulation of their generic drugs (provided
   they do not affect bioequivalence), the API must
   be the same.”

   “Prior to submitting an ANDA, a generic drug    9                    None
   manufacturer may submit a Drug Master File
   (“DMF”) to the FDA. DMFs are submissions to
   the FDA used to provide confidential, detailed
   information about facilities, processes, or
   articles used in the manufacturing, processing,
   packaging, and storing of the API which make
   up all prescription drugs. Unlike ANDAs, DMFs
   are neither approved nor disapproved. Rather,
   the FDA simply reviews the technical contents
   of the DMF when the agency ultimately
   receives, reviews, and decides on whether to
   approve an ANDA.”

   “Nitrosamines are known human carcinogens.         9                 None
   Their only commercial purpose is to induce
   cancer in laboratory mice.”

   “At present, all Repackager/Relabeler              10-11             None
   Defendants save one (which has not moved to
   dismiss) have availed themselves of the court-
   approved process for the dismissal without
   prejudice of certain defendants.”
Case 1:19-md-02875-RMB-SAK       Document 598-2       Filed 10/16/20   Page 4 of 24 PageID:
                                       12587



    New Facts Alleged in Plaintiffs’ Opposition          Opposition         External
                                                        Page Number          Source
                                                                              Cited
   “To illustrate the above in more detail, ZHP, as     13                Letter Brief
   both a valsartan API and finished-dose                                 at ECF 296,
   manufacturer, originally developed a four-step                         3-4
   process for the manufacture of valsartan API.”

   “To facilitate the chemical reaction necessary to 13                   Letter Brief
   form the specific tetrazole ring structure in these                    at ECF 296,
   sartans, Process I utilized multiple chemical                          3-4
   agents including tributyl tin chloride.”

   “This agent was the same one used by Novartis        13-14             Letter Brief
   to manufacture the valsartan API in its branded                        at ECF 296,
   Diovan and Exforge products, as publicly                               4-5
   disclosed in Novartis’s NDA on file with the
   FDA. However, this process was disfavored by
   ZHP for a host of reasons, the chief of which
   was cost.”

   “ZHP could not yet sell its generic valsartan in  14                   Letter Brief
   the United States because of Novartis’s patent                         at ECF 296,
   protection until at least 2012, but ZHP could and                      4-7
   did begin selling generic valsartan in other
   countries.”

   “ZHP’s first manufacturing process was               14                Letter Brief
   expensive. To cut costs, ZHP devised a second                          at ECF 296,
   process – Process II – which substituted a                             5
   different, cheaper chemical agent –
   triethylamine hydrochloride (“TEA”) – in step 4
   in lieu of tributyl tin chloride.”

   “Process II also replaced the solvent used in        14                Letter Brief
   Process I (xylene) with a different solvent                            at ECF 296,
   (toluene). Toluene is a cheaper, yet more                              5
   volatile solvent agent. Nevertheless, replacing
   Process I with Process II yielded ZHP’s
   intended result – the substitution of cheaper
   chemical agents reduced ZHP’s costs and

                                           2
Case 1:19-md-02875-RMB-SAK        Document 598-2        Filed 10/16/20   Page 5 of 24 PageID:
                                        12588



    New Facts Alleged in Plaintiffs’ Opposition            Opposition         External
                                                          Page Number          Source
                                                                                Cited
   increased its profits for overseas valsartan
   sales.”

   “Setting the stage for its profits-driven process- 14                    Letter Brief
   switch abroad, in January 2010 ZHP (through its                          at ECF 296,
   United States subsidiaries), filed a second DMF                          29
   with the FDA. This new DMF listed the same
   process change – Process I to Process II – that
   ZHP implemented for its non-United States
   valsartan.”

   “In its submission, ZHP explicitly                     14                Letter Brief
   acknowledged that switching from tributyl tin                            at ECF 296,
   chloride to cheaper triethylmaine hydrochloride                          29
   reduced the “economic cost” to make valsartan
   API.”

   “What ZHP did not admit was that its decision          14                None
   to cut costs to pursue greater profits resulted in
   carcinogenic contamination of its valsartan API
   made pursuant to Process II.”

   “The scientific literature reported that the           19                “scientific
   chemical reactions to form desired chemical                              literature”
   compounds could lead to the unwanted creation
   of nitrosamines as well.”

   “Discovery has already revealed the existence of 62, footnote 16 Discovery
   express warranties made by manufacturers to
   wholesalers/retailers, which contain express
   warranties made for the benefit of consumers as
   intended third party beneficiaries.”

   “Those agreements exist between all of the             67, footnote 21 Discovery
   Retailer Pharmacy Defendants and
   Manufacturers or Wholesalers in this case . . .
   Some of these indemnification agreements have


                                             3
Case 1:19-md-02875-RMB-SAK      Document 598-2        Filed 10/16/20   Page 6 of 24 PageID:
                                      12589



    New Facts Alleged in Plaintiffs’ Opposition          Opposition         External
                                                        Page Number          Source
                                                                              Cited
   already been produced in discovery, and many
   of them have been improperly redacted.”

   “Indeed, from 2016 to 2018, 22 batches of API     80, footnote 42 Letter Brief
   were rejected and/or returned by customers                        at ECF 296,
   because they failed to meet specifications and/or                 5
   were presenting with aberrant testing.”

   “From January 22, 2016 to June 29, 2017 alone,       80, footnote 42 Letter Brief
   there were 17 out-of-specification (“OOS”)                           at ECF 296,
   investigations regarding one particular batch of                     29
   valsartan API . . . These investigations were
   never successfully resolved . . . This batch, it
   would later turn out, had been contaminated
   with genotoxic impurity the entire time.”

   “When confronted with these rejected, refused,    80, footnote 42 Letter Brief
   an/or [sic] OOS batches, instead of conducting a                  at ECF 296,
   root cause analysis, ZHP simply re-processed                      27-28
   the raw material and sold it to other customers.”

   “Plaintiffs have adequately pleaded that             91                Discovery;
   Defendants knew or should have known that                              Letter Brief
   their nitrosamine-contaminated Valsartan could                         at ECF 296,
   cause cancer in humans, and failed to warn of                          4-7
   these risks. Discovery has yielded illustrative
   evidence on this point.”

   “When asked why it made this change, ZHP’s           96                Letter Brief
   Executive Vice President Jun Du suggested it                           at ECF 296,
   was to save money [sic] increase market share.”                        4-5

   “Even more egregiously, ZHP instituted this          97                Letter Brief
   manufacturing change at a commercial scale in                          at ECF 296,
   spite of its developer’s direction that the                            4-5
   synthesis and purification process including the
   solvent system had to be further refined at the
   testing scale . . . These facts lead to one

                                           4
Case 1:19-md-02875-RMB-SAK        Document 598-2        Filed 10/16/20   Page 7 of 24 PageID:
                                        12590



    New Facts Alleged in Plaintiffs’ Opposition            Opposition         External
                                                          Page Number          Source
                                                                                Cited
   reasonable conclusion: ZHP wantonly and
   willfully manufactured its valsartan using an
   unoptimized purification process that failed to
   detect highly potent genotoxic impurities, such
   as NDMA or NDEA, so that it could increase its
   profits and market share.”

   Pre-litigation letters purportedly sent to certain     Exhibit 1         Purported
   Defendants.                                                              Pre-
                                                                            Litigation
                                                                            Letters




                                             5
Case 1:19-md-02875-RMB-SAK   Document 598-2      Filed 10/16/20   Page 8 of 24 PageID:
                                   12591



      NON-EXHAUSTIVE LIST OF STATES REQUIRING LOSS OF
   FUNCTIONALITY OR PHYSICAL HARM FOR BREACH OF IMPLIED
                        WARRANTY

         State                               Authority

   Alabama        Bodie v. Purdue Pharma Co., 236 F. App’x. 511, 524 (11th
                  Cir. 2007) (unpublished) (The drug OxyContin did not breach
                  implied warranty of merchantability where it “managed
                  [Plaintiff’s] pain and improved his quality of life” even if it
                  was allegedly “unsafe” and “dangerous.”); In re Trasylol
                  Prods. Liab. Litig., No. 08–MD–01928, 2010 WL 5140439, at
                  *13 (S.D. Fla. Feb. 16, 2010) (applying Alabama law)
                  (holding that allegations that a drug was unsafe could not
                  support breach of implied warranty where plaintiff did not also
                  “argue that Trasylol was not fit for its intended use in reducing
                  perioperative bleeding in patients undergoing cardiac
                  surgery[.]”)

   California     Tietsworth v. Sears, 720 F. Supp. 2d 1123, 1142–43 (N.D. Cal.
                  2010) (“However, her allegations of continued use of the
                  Machine throughout the one-year warranty period belie her
                  claim that it failed to serve its ordinary purpose.”)

   Illinois       Baldwin v. Star Sci., Inc., 78 F. Supp. 3d 724, 741 (N.D. Ill.
                  2015) (“Plaintiff does not allege in what way the product was
                  ineffective.”)

   Minnesota      O’Neil v. Simplicity, Inc., 553 F. Supp. 2d 1110, 1115 (D.
                  Minn. 2008) (“It is simply not enough for a plaintiff to allege
                  that a product defect suffered by others renders . . . that same
                  product unsafe; the plaintiff must instead allege an actual
                  manifestation of the defect that results in some injury in order
                  to state a cognizable claim for breach of warranty[.]”)
                  (emphasis in text)

   New York       Caronia v. Philip Morris USA, Inc., 715 F.3d 417, 421, 434
                  (2d Cir. 2013) (“[W]hether Philip Morris could have made
                  Marlboro cigarettes safer, therefore, is not an issue that is
                  material to the claim of breach of implied warranty of

                                        6
Case 1:19-md-02875-RMB-SAK    Document 598-2      Filed 10/16/20   Page 9 of 24 PageID:
                                    12592



                   merchantability[,]” despite plaintiffs’ allegation that
                   manufacturer used tobacco “known to contain high levels of
                   cancer-causing nitrosamines[.]”)

   Oklahoma        Harrison v. Leviton Mfg. Co., Inc., No. 05-0491, 2006 WL
                   2990524, at *6 (N.D. Okla. Oct. 19, 2006) (“Courts do not
                   allow consumers to bring claims against manufacturers for
                   products that are perceived to be harmful, but that have not
                   actually cause an identifiable injury . . . . A necessary part of
                   every breach of warranty claim is that plaintiff suffer an actual
                   loss that was proximately caused by defendant's breach of
                   warranty[.]”)

   Pennsylvania    Heindel v. Pfizer, Inc., 381 F. Supp. 2d 364, 379–80 (D.N.J.
                   2004) (applying Pennsylvania law) (“These plaintiffs would be
                   hard pressed to claim that they did not get what they paid for.
                   Indeed, the record unequivocally establishes that Celebrex and
                   Vioxx were effective treatments for . . . arthritis pain[.]”)

   Texas           Gen. Motors Corp. v. Brewer, 966 S.W.2d 56, 57 (Tex. 1998)
                   (quoting Plas–Tex, Inc. v. U.S. Steel Corp., 772 S.W.2d 442,
                   443–44 (Tex. 1989) (“For goods to breach [the implied
                   warranty of merchantability], they must be defective—that is,
                   they must be ‘unfit for the ordinary purposes for which they
                   are used because of a lack of something necessary for
                   adequacy.’”)

   West Virginia   Emp. Teamsters-Local Nos. 175/505 Health and Welfare Trust
                   Fund v. Bristol Myers Squibb Co., 969 F. Supp. 2d 463, 470
                   (S.D.W. Va. 2013) (“Plaintiffs do not allege that Plavix was not
                   fit for its ordinary purpose of being an anticoagulant.”)




                                         7
Case 1:19-md-02875-RMB-SAK   Document 598-2      Filed 10/16/20   Page 10 of 24
                             PageID: 12593



   STATES REQUIRING RELIANCE ON OR KNOWLEDGE OF A
  WARRANTY FOR IT TO FORM THE “BASIS OF THE BARGAIN”

    State         Reliance on Warranty              At Least Knowledge of
                                                          Warranty

Arkansas       Ciba–Geigy Corp. v. Alter,
               834 S.W.2d 136, 146–47 (Ark.
               1992) (“When a buyer is not
               influenced by the statement in
               making his or her purchase,
               the statement is not a basis of
               the bargain.”); see also Brooks
               v. Remington Arms Co., No.
               09-01054, 2010 WL 6971894,
               at *5 (W.D. Ark. Oct. 27,
               2010) (“[T]he Arkansas
               Supreme Court directly
               addressed this issue and held
               that reliance is an essential
               element of an express warranty
               claim[.]”)

California                                       Tae Hee Lee v. Toyota Motor
                                                 Sales U.S.A., Inc., 992 F.
                                                 Supp. 2d 962, 979 (C.D. Cal.
                                                 2014) (Plaintiffs do not allege
                                                 that they read or relied on the
                                                 ‘marketing brochure’ before
                                                 making their purchases.”); In
                                                 re Toyota, 754 F.Supp.2d
                                                 1145, 1182 (C. D. Cal. 2010)
                                                 (“California law does not
                                                 permit Plaintiffs, in the
                                                 absence of specific
                                                 allegations that they were
                                                 aware of the statements made
                                                 in a national advertising
                                                 campaign, to base their
                                                 express warranty claims on

                                    8
Case 1:19-md-02875-RMB-SAK    Document 598-2     Filed 10/16/20   Page 11 of 24
                              PageID: 12594



    State         Reliance on Warranty             At Least Knowledge of
                                                         Warranty

                                                 statements made in that
                                                 national advertising
                                                 campaign.”)

Colorado       Assocs. of San Lazaro v. San
               Lazaro Park Props., 864 P.2d
               111, 115 (Colo. 1993)
               (“Sellers are encouraged to
               warrant only that which they
               know they can fulfill, while
               buyers who in fact rely on
               express warranties may
               anticipate judicial enforcement
               thereof.”)

Connecticut    Web Press Serv. Corp. v. New
               London Motors, 525 A.2d 57,
               67 (Conn. 1987) (“Under the
               common law action, and under
               several of the warranty
               provisions of the code . . . a
               plaintiff still must prove
               reliance and that the
               representation became part of
               the basis of the bargain.”);
               Danise v. Safety-Kleen Corp.,
               17 F. Supp. 2d 87, 97 (D.
               Conn. 1998)

Delaware       DiIenno v. Libbey Glass Div.,
               Owens–Ill., Inc., 668 F. Supp.
               373, 376 (D. Del. 1987) (“It is
               clear that a successful action
               for breach of an expressed
               warranty may not be
               maintained in Delaware absent


                                     9
Case 1:19-md-02875-RMB-SAK   Document 598-2      Filed 10/16/20   Page 12 of 24
                             PageID: 12595



    State         Reliance on Warranty             At Least Knowledge of
                                                         Warranty

               some reliance by the buyer on
               the warranty.”)

Florida        Thursby v. Reynolds Metals
               Co., 466 So.2d 245, 250 (Fla.
               Dist. Ct. App. 1984) (“[A]n
               express warranty is generally
               considered to arise only where
               the seller asserts a fact of
               which the buyer is ignorant
               prior to the beginning of the
               transaction . . . and on which
               the buyer justifiably relies as
               part of the ‘basis of the
               bargain.’”); see also Royal
               Typewriter Co. v. Xerographic
               Supplies Corp., 719 F.2d 1092,
               1101 (11th Cir. 1983)
               (“[A]bsence of reliance will
               negate the existence of an
               express warranty.”); In re
               Hardieplank Fiber Cement
               Siding Litig., 284 F. Supp. 3d
               918, 943–44 (D. Minn. 2018)
               (applying Florida law) (finding
               that regardless of whether
               reliance is required, the
               representation must be heard
               or seen)

Georgia                                          Am. Coach Lines of Orlando,
                                                 Inc. v. N. Am. Bus Indus.,
                                                 Inc., No. 09-1999, 2011 WL
                                                 653524, at *16 (M.D. Fla.
                                                 Feb. 14, 2011) (applying
                                                 Georgia law) (“[B]ecause all
                                                 statements . . . were made

                                    10
Case 1:19-md-02875-RMB-SAK   Document 598-2     Filed 10/16/20    Page 13 of 24
                             PageID: 12596



     State        Reliance on Warranty             At Least Knowledge of
                                                         Warranty

                                                after the buses were delivered
                                                to American Coach . . .
                                                NABI's statements to
                                                American Coach were not
                                                part of the ‘basis of the
                                                bargain’ . . . .”); In re
                                                Hardieplank Fiber Cement
                                                Siding Litig., 284 F. Supp. 3d
                                                918, 933 (D. Minn. 2018)
                                                (applying Georgia law)
                                                (finding marketing materials
                                                were not basis of bargain
                                                because Plaintiff was “never
                                                exposed” to those materials
                                                “before” he made a purchase)

Hawaii                                          Torres v. Nw. Eng’g Co., 949
                                                P.2d 1004, 1015 (Haw. 1997)
                                                (“[A] plaintiff claiming a
                                                breach of express warranty
                                                based on an advertisement
                                                contained in a catalogue or
                                                brochure would normally
                                                have to prove, at a minimum,
                                                that he or she read, or at least
                                                was aware of, the catalogue
                                                or brochure.”)

Illinois       In re Nexus 6P Prod. Liab.
               Litig., 293 F. Supp. 3d 888,
               917 (N.D. Cal. 2018)
               (applying Illinois law) (“When
               privity is lacking, the
               background rule mandates
               pleading and proving
               reliance.”); Coryell v.
               Lombard Lincoln–Mercury

                                   11
Case 1:19-md-02875-RMB-SAK    Document 598-2       Filed 10/16/20   Page 14 of 24
                              PageID: 12597



       State       Reliance on Warranty              At Least Knowledge of
                                                           Warranty

               Merkur, Inc., 544 N.E.2d
               1154, 1158 (Ill. App. Ct. 1989)
               (requiring reliance for express
               warranty)

Iowa           Sharp v. Tamko Roofing
               Prods., Inc., No. 02-0728, 695
               N.W.2d 43, 2004 WL
               2579638, at *2 (Iowa Ct. App.
               Nov. 15, 2004) (unpublished
               opinion) (“[P]laintiffs have
               failed to present a genuine
               issue of material fact to show
               they relied on the statements . .
               . For a plaintiff to prove a
               breach of an express warranty
               based on sales representations,
               there must be a finding the sale
               would not have been made but
               for the representations.”);
               Nationwide Agribusiness Ins.
               Co. v. SMA Elevator Const.
               Inc., 816 F. Supp. 2d 631, 686
               (N.D. Iowa 2011) (“There is
               authority for the proposition
               that advertising materials can
               be the basis for an express
               warranty, but only if the other
               elements of the claim,
               including reliance, are met.”).

Kansas                                             Voelkel v. Gen. Motors Corp.,
                                                   846 F. Supp. 1482, 1485 (D.
                                                   Kan. 1994) (“There is no
                                                   evidence that [the plaintiff]
                                                   read or knew of the 1984
                                                   sales manual in May of 1990

                                     12
Case 1:19-md-02875-RMB-SAK   Document 598-2     Filed 10/16/20   Page 15 of 24
                             PageID: 12598



    State         Reliance on Warranty            At Least Knowledge of
                                                        Warranty

                                                prior to purchasing the 1984
                                                [car] from a non-GMC used
                                                car dealer.”); Brand v. Mazda
                                                Motor Corp., 978 F. Supp.
                                                1382, 1390 (D. Kan. 1997)
                                                (noting requirement that
                                                buyer must know of a
                                                representation prior to
                                                purchase for it to become part
                                                of the basis of the bargain)

Kentucky       Overstreet v. Norden Lab., 669
               F.2d 1286, 1291 (6th Cir.
               1982) (applying Kentucky
               law) (“A warranty is the basis
               of the bargain if it has been
               relied upon as one of the
               inducements for purchasing
               the product.”)

Maine          Phillips v. Ripley & Fletcher
               Co., 541 A.2d 946, 950 (Me.
               1988) (“[T]he purchaser must
               show reliance on the
               affirmation in order to make
               out a cause of action for
               breach of warranty.”)

Maryland                                        Morris v. Biomet, Inc., No.
                                                18-2440, 2020 WL 5849482,
                                                at *12 (D. Md. Sept. 30,
                                                2020) (“Here, there is no
                                                evidence from which a jury
                                                could determine Plaintiff ever
                                                saw any express warranty
                                                from Biomet that the product
                                                was ‘pain-free.’”)

                                   13
Case 1:19-md-02875-RMB-SAK     Document 598-2      Filed 10/16/20   Page 16 of 24
                               PageID: 12599



    State          Reliance on Warranty              At Least Knowledge of
                                                           Warranty

Massachusetts   Sebago, Inc. v. Beazer E., Inc.,
                18 F. Supp. 2d 70, 102 (D.
                Mass. 1998) (“[T]he plaintiff
                must demonstrate that the
                buyer relied on the
                warranty.”). Stuto v. Corning
                Glass Works, No. 88-1150,
                1990 WL 105615, at *6 (D.
                Mass. July 23, 1990)
                (“[P]laintiff could not have
                relied on the express warranty
                . . . [because] [s]he cannot
                recall having ever seen or
                heard advertisements . . . prior
                to litigation[.]”)

Michigan        Monte v. Toyota Motor Corp.,
                Nos. 220671, 220983, 2001
                WL 1152901, at *3 (Mich. Ct.
                App. Sept. 28, 2001)
                (“[P]laintiff could not have
                relied on any of the statements
                included in either the Owner’s
                Manuel or Owner's Guide
                considering that he received
                both after the bargain was
                already struck.”) (emphasis in
                original), appeal denied, 651
                N.W.2d 912 (Mich. 2002)
                (unpublished); Dow Corning
                Corp. v. Weather Shield Mfg.,
                Inc., 790 F. Supp. 2d 604, 611
                (E. D. Mich. 2011)
                (“[A]dvertisements and
                promotional literature can be a
                part of the basis of the bargain
                and thus constitute express

                                      14
Case 1:19-md-02875-RMB-SAK    Document 598-2      Filed 10/16/20   Page 17 of 24
                              PageID: 12600



     State        Reliance on Warranty              At Least Knowledge of
                                                          Warranty

               warranty where they are
               prepared and furnished by a
               seller to induce purchase of its
               products and the buyer relies
               on the representations.”)

Minnesota      Hendricks v. Callahan, 972
               F.2d 190, 193–94 (8th Cir.
               1992) (“[W]e are not
               convinced Minnesota has
               completely abandoned the
               requirement of reliance.”)

Mississippi    Global Truck & Equip. Co. v.
               Palmer Mach. Works, Inc.,
               628 F. Supp. 641, 651–52 (N.
               D. Miss. 1986) (“[P]laintiff
               failed to prove by a
               preponderance of the evidence
               that the statements contained
               in the Palmer brochure were
               relied upon by Randall prior to
               or contemporaneously with the
               making of the contract
               between Global and Palmer.”);
               Craig v. DaimlerChrysler
               Corp., No. 06-450, 2008 WL
               2816842, at *7 (S.D. Miss.
               Mar. 19, 2008) (finding lack of
               reliance doomed express
               warranty claim under product
               liability act)

Missouri                                          In re Bisphenol–A (BPA)
                                                  Polycarbonate Plastic Prod.
                                                  Liab. Litig., 687 F. Supp. 2d
                                                  897, 906 (W. D. Mo. 2009)

                                     15
Case 1:19-md-02875-RMB-SAK     Document 598-2     Filed 10/16/20    Page 18 of 24
                               PageID: 12601



    State          Reliance on Warranty              At Least Knowledge of
                                                           Warranty

                                                  (“If one party . . . is not aware
                                                  of the statement, that party
                                                  cannot claim the statement
                                                  became a part of the parties’
                                                  bargain.”); Interco Inc. v.
                                                  Randustrial Corp., 533
                                                  S.W.2d 257, 262 (Mo. Ct.
                                                  App. 1976) (“However, the
                                                  catalogue, advertisement or
                                                  brochure must have at least
                                                  been read.”)

Montana        Schlenz v. John Deere Co.,
               511 F. Supp. 224, 228 (D.
               Mont. 1981) (“Manufacturers
               such as defendants create
               express warranties . . . if they
               make representations in
               advertising brochures that the
               purchaser relies on as part of
               the basis for the bargain.”)

Nebraska       Hillcrest Country Club v. N.D.
               Judds Co., 461 N.W.2d 55, 61
               (Neb. 1990) (“[I]t is essential
               that the plaintiffs prove
               reliance upon the warranty.”)

New                                               Kelleher v. Marvin Lumber &
Hampshire                                         Cedar Co., 891 A.2d 477,
                                                  502 (N.H. 2006) (“To satisfy
                                                  this requirement, a plaintiff
                                                  claiming breach of express
                                                  warranty based upon a
                                                  representation in a catalog or
                                                  brochure would have to
                                                  prove, at a minimum, that he

                                      16
Case 1:19-md-02875-RMB-SAK   Document 598-2      Filed 10/16/20   Page 19 of 24
                             PageID: 12602



    State         Reliance on Warranty              At Least Knowledge of
                                                          Warranty

                                                 or she read, heard, saw or was
                                                 otherwise aware of the
                                                 representation in the catalog
                                                 or brochure.”)

New Mexico                                       Porcell v. Lincoln Wood
                                                 Prod., Inc., 713 F. Supp. 2d
                                                 1305, 1318 (D.N.M. 2010)
                                                 (“[R]epresentations in sales
                                                 literature of which a
                                                 purchaser was unaware
                                                 cannot become part of the
                                                 ‘basis of the bargain’ between
                                                 the seller and the buyer.”)

New York       Horowitz v. Stryker Corp., 613
               F. Supp. 2d 271, 286
               (E.D.N.Y. 2009) (“[A]ction for
               breach of express warranty
               requires . . . reliance on that
               promise or representation.”)
               (citing CBS Inc. v. Ziff–Davis
               Pub. Co., 553 N.E.2d 997,
               1000–01 (N.Y. 1990))

North                                            Maxwell v. Remington Arms
Carolina                                         Co., LLC, No. 10-918, 2014
                                                 WL 5808795, at *3 (M.D.
                                                 N.C. Nov. 7, 2014) (“In
                                                 determining whether a seller's
                                                 affirmation or description
                                                 becomes the ‘basis of the
                                                 bargain,’ North Carolina
                                                 courts look to certain factors,
                                                 including ‘whether the buyer
                                                 knew of the seller's
                                                 statements.’”) (quoting Pake

                                    17
Case 1:19-md-02875-RMB-SAK   Document 598-2     Filed 10/16/20   Page 20 of 24
                             PageID: 12603



       State      Reliance on Warranty            At Least Knowledge of
                                                        Warranty

                                                v. Byrd, 286 S.E.2d 588, 590
                                                (N.C. Ct. App. 1982))

Ohio                                            In re: Elk Cross Timbers
                                                Decking Mktg., No. 15-18,
                                                2015 WL 6467730, at *28
                                                (D.N.J. Oct. 26, 2015) (“It
                                                also supports that in most, if
                                                not all, relevant states,
                                                Plaintiffs must allege that
                                                they relied on such
                                                representations or that the
                                                representations induced the
                                                purchase.”) (citing Nat’l
                                                Mulch & Seed, Inc. v. Rexius
                                                Forest By–Prods. Inc., No.
                                                02-1288, 2007 WL 894833,
                                                at *16 (S. D. Ohio Mar. 22,
                                                2007)); see also Wagner v.
                                                Roche Lab., 709 N.E.2d 162,
                                                164 (Ohio 1999) (indicating
                                                that reliance is required)

Oregon         Autzen v. John C. Taylor
               Lumber Sales, Inc., 572 P.2d
               1322, 1325 (Or. 1977)
               (statement must be made while
               “[t]he bargain was still in
               process” to constitute express
               warranty)

Pennsylvania                                    Starks v. Coloplast Corp.,
                                                No. 13-3872, 2014 WL
                                                617130, at *6 (E.D. Pa. Feb.
                                                18, 2014) (“A promise
                                                becomes the basis of the
                                                bargain if the plaintiff can

                                   18
Case 1:19-md-02875-RMB-SAK   Document 598-2     Filed 10/16/20   Page 21 of 24
                             PageID: 12604



    State         Reliance on Warranty            At Least Knowledge of
                                                        Warranty

                                                prove ‘that she read, heard,
                                                saw or knew of the
                                                advertisement containing the
                                                affirmation of fact or
                                                promise.’”) (quoting
                                                Parkinson v. Guidant Corp.,
                                                315 F. Supp. 2d 741, 752 (W.
                                                D. Pa. 2004)

Rhode Island   Thomas v. Amway Corp., 488
               A.2d 716, 720 (R.I. 1985)
               (“[P]laintiff . . . has the
               burden of proving that the
               statements or representations
               made by the seller induced her
               to purchase that product and
               that she relied upon such
               statements or
               representations.”).

South Dakota                                    Schmaltz v. Nissen, 431
                                                N.W.2d 657, 661 (S.D. 1988)
                                                (“Without having read or
                                                even known of this language,
                                                it is impossible to say this
                                                language was part of the basis
                                                of the bargain.”).

Tennessee                                       Coffey v. Dowley Mfg., Inc.,
                                                187 F. Supp. 2d 958, 969
                                                (M.D. Tenn. 2002), aff'd, 89
                                                F. App’x 927 (6th Cir. 2003)
                                                (“In order to establish a prima
                                                facie claim for breach of
                                                express warranty, plaintiff
                                                must prove . . . that the buyer
                                                was in fact induced by the

                                    19
Case 1:19-md-02875-RMB-SAK     Document 598-2       Filed 10/16/20   Page 22 of 24
                               PageID: 12605



       State       Reliance on Warranty               At Least Knowledge of
                                                            Warranty

                                                    seller’s acts”); Masters v.
                                                    Rishton, 863 S.W.2d 702, 706
                                                    (Tenn. Ct. App. 1992) “. . .
                                                    had never seen any
                                                    advertisement for the helmet
                                                    and had never heard any
                                                    representations made about
                                                    the safety of the helmet.”)

Texas                                               McManus v. Fleetwood
                                                    Enter., Inc., 320 F.3d 545,
                                                    550 (5th Cir. 2003) (applying
                                                    Texas law) (“Although the
                                                    precise level of reliance
                                                    required under Texas law to
                                                    recover for breach of express
                                                    warranty is unclear,
                                                    purchasers . . . who did not
                                                    read or consider the wardrobe
                                                    door tag[ ] cannot be said to
                                                    have relied on the allegedly
                                                    misleading wardrobe tag to
                                                    any extent.”) (emphasis in
                                                    original)

Utah           Mgmt. Comm. of Graystone
               Pines Homeowners Ass’n on
               Behalf of Owners of Condos. v.
               Graystone Pines, Inc., 652
               P.2d 896, 900 (Utah 1982) (“It
               is generally true that reliance is
               necessary to establish a cause
               of action for express
               warranty.”)
Virginia                                            In re Hardieplank Fiber
                                                    Cement Siding Litig., 284 F.
                                                    Supp. 3d 918, 938 (D. Minn.

                                      20
Case 1:19-md-02875-RMB-SAK    Document 598-2     Filed 10/16/20    Page 23 of 24
                              PageID: 12606



    State         Reliance on Warranty              At Least Knowledge of
                                                          Warranty

                                                 2018) (applying Virginia law)
                                                 (“If the buyer was never
                                                 exposed to the alleged
                                                 affirmation, the affirmation
                                                 cannot be part of the basis of
                                                 the bargain.”)

Washington                                       Baughn v. Honda Motor Co.,
                                                 727 P.2d 655, 669 (Wash.
                                                 1986) (“Although the UCC
                                                 does not require a plaintiff to
                                                 show reliance on the
                                                 manufacturer’s statement, he
                                                 or she must at least be aware
                                                 of such representations to
                                                 recover for their breach.”)

Wisconsin                                        Haley v. Kolbe & Kolbe
                                                 Millwork Co., Inc., No. 14-
                                                 99, 2015 WL 3774496, at *17
                                                 (W.D. Wis. June 16, 2015)
                                                 (Plaintiffs “have not come
                                                 forward with evidence that
                                                 plaintiffs saw the statements
                                                 before purchasing the
                                                 windows so that the
                                                 statements can be considered
                                                 part of the basis of the
                                                 bargain.”)

Wyoming        Atlas Const. Co., Inc. v. Aqua
               Drilling Co., 559 P.2d 39, 41
               (Wyo. 1977) (“We have held
               in a water-well case . . . that
               there can be no warranty
               unless there be a
               representation relied upon

                                     21
Case 1:19-md-02875-RMB-SAK   Document 598-2   Filed 10/16/20   Page 24 of 24
                             PageID: 12607



    State         Reliance on Warranty          At Least Knowledge of
                                                      Warranty

               which becomes the basis for
               the bargain.”)




                                   22
